Case 1:20-cv-05594-TAM               Document 63          Filed 07/03/24   Page 1 of 2 PageID #: 2609




 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ----------------------------------------------------------- X
 KATHYANN SMART,

                           Plaintiff,                                      JUDGMENT
                  v.                                                       20-CV-5594 (TAM)

 USA LABOR FOR HIRE, INC., RC GLOBAL
 ENERGY GROUP, INC., and OLEG TSIMBLER,

                            Defendants.
 ----------------------------------------------------------- X

         A Memorandum and Order of the Honorable Taryn A. Merkl, United States Magistrate

 Judge, having been filed on June 26, 2024, denying Defendants’ motion for a new trial pursuant

 to Federal Rules of Civil Procedure 50(b) and 59 or, in the alterative; granting Plaintiff’s motion

 for attorneys’ fees, costs, and pre- and post-judgment interest; awarding Plaintiff the following

 amounts: 1) $150,000 in actual damages ($50,000 from Defendant Oleg Tsimbler, $50,000 from

 Defendant USA Labor for Hire, Inc., and $50,000 from Defendant RC Global Energy Group,

 Inc.); 2) Pre-judgment interest on Plaintiff’s actual damages award of $150,000, calculated at the

 rate of interest referred to in 28 U.S.C. § 1961, from January 15, 2020, through the date

 judgment is entered, compounded annually; 3) $60,000 in compensatory damages ($50,000 from

 Defendant Oleg Tsimbler, $5,000 from Defendant USA Labor for Hire, Inc., and $5,000 from

 Defendant RC Global Energy Group, Inc.); 4) $50,000 in punitive damages ($40,000 from

 Defendant Oleg Tsimbler, $5,000 from Defendant USA Labor for Hire, Inc., and $5,000 from

 Defendant RC Global Energy Group, Inc.); 5) $173,630 in attorneys’ fees; 6) $5,318.80 in costs;

 and 7) Post-judgment interest, which shall be calculated from the date the Clerk of Court enters

 judgment until the date of payment, using the rate set forth in 28 U.S.C. § 1961(a); and the Clerk
Case 1:20-cv-05594-TAM           Document 63        Filed 07/03/24       Page 2 of 2 PageID #: 2610




 of Court having calculated the prejudgment interest at the rate set forth above, and the interest

 being $37,257.57; it is

        ORDERED and ADJUDGED that Defendants’ motion for a new trial pursuant to Federal

 Rules of Civil Procedure 50(b) and 59 or, in the alterative, remittitur, is denied; that Plaintiff’s

 motion for attorneys’ fees, costs, and pre- and post-judgment interest is granted; that judgment is

 hereby entered in favor of Plaintiff and against Defendants in the total amount of $476,206.37

 plus post-judgment interest, which shall be calculated from the date the Clerk of Court enters

 judgment until the date of payment, using the rate set forth in 28 U.S.C. § 1961(a).

 Dated: Brooklyn, NY                                            Brenna B. Mahoney
        July 3, 2024                                            Clerk of Court

                                                                By: /s/Jalitza Poveda
                                                                        Deputy Clerk
